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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03010-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.




State of Colorado, et al.,

                                Plaintiffs,   Case No. 1:20-cv-03715-APM

 v.                                           HON. AMIT P. MEHTA

Google LLC,

                                Defendant.



                  MEMORANDUM IN OPPOSITION TO PLAINTIFFS’
                         MOTIONS FOR SANCTIONS
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                                        INTRODUCTION

       Plaintiffs’ motions concern Google’s long-standing approach to the preservation of instant

messages created through Google’s commercial product Google Chat (formerly Google

Hangouts). At issue is a subset of those “chats”—specifically, “history off” messages sent after a

document custodian was placed on legal hold. Nine months after the close of fact discovery and

with summary judgment motions briefed, Plaintiffs now take issue with Google’s preservation

methodology for this narrow category of ESI—in a case in which Plaintiffs have had the benefit

of more than 31 million pages of document discovery from Google, the depositions of more than

50 Google witnesses, and the production of all responsive “history on” chats. Indeed, all the more

striking, Plaintiffs have known for years of the very approach to chat preservation that they now

contend warrants sanctions. Plaintiffs should not be heard to complain at this late hour.

       Nor do their motions have merit for multiple other reasons:            Google’s preservation

practices both were reasonable and are easily distinguishable from those in the cases they cite.

And Plaintiffs cannot demonstrate prejudice, much less an intent by Google to destroy evidence

necessary for the adjudication of their claims given the nature of the issues in this case and the

voluminous discovery Plaintiffs have received. The motions should be denied.

       As part of its regular data retention practices, Google has long followed a tiered approach

with respect to chats. Google’s approach was designed to distinguish between those messages

more likely to contain substantive communications (and thus more likely to be subsequently

searched for and referred to by employees in the ordinary course of business), on the one hand,

and those less likely to be substantive, on the other (and thus not retained on a routine basis). While

“history on” messages are retained longer (and indefinitely preserved when on legal hold), those

messages that are less likely to contain substantive communications, i.e., “history off” chats, are

not retained longer than 24 hours. When there is litigation, Google instructs employees on legal


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hold not to use messaging apps like Google Chat to discuss the subjects at issue in the litigation

and, if they must, to switch their settings to “history on” for chats regarding the subjects at issue

in the litigation, so that any such messages are preserved.

           Plaintiffs now challenge Google’s judgment as to how to approach prospective

preservation for this specific category of chats—i.e., those generated on a going-forward basis

after the issuance of the legal hold and long after the central events at issue occurred. In essence,

Plaintiffs contend that the Federal Rules specifically mandate that Google should have applied a

forced history on setting for all custodians for all chats created while the custodian was on legal

hold, regardless of the possible relevance of the message to the litigation. But Rule 37(e) does not

mandate that. It “only calls for reasonable steps to preserve” discoverable ESI. Fed. R. Civ. P.

37(e) advisory committee’s note to 2015 amendment. Google’s vast preservation efforts here—

and specifically its methodology with respect to history-off chats—were “reasonable steps” under

the Rule.

           Moreover, Plaintiffs cannot show any prejudice, as they have not been denied access to

material information needed to prosecute these cases and they have offered no evidence that

Google intentionally destroyed such evidence. See Fed. R. Civ. P. 37(e)(1)–(2). Google’s

collection and production of documents encompassed millions upon millions of documents from

more than 100 custodians. And Google collected over half a million chats that were preserved

from relevant custodians; yet only 637 were deemed responsive to Plaintiffs’ extraordinarily broad

document requests and not a single one of these chats has been used in any way in this litigation

to date.

           That chats have not had any evidentiary significance in this litigation is

unsurprising. These cases are about the terms of and circumstances surrounding long-standing




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Google agreements with third parties and Google product designs that are publicly observable by

anyone with a connection to the Internet—conduct which predates by many years the

investigations that led to these lawsuits. There is little reason to believe that material new

information would be found in any chat that was not preserved given the tens of millions of

documents that Google collected for purposes of document review and the over four million

documents that were actually produced, not to mention the terabytes of data, voluminous third-

party productions, and many dozens of depositions that also comprise the massive discovery record

in these cases.

       Further, Plaintiffs’ criticism of Google’s chat preservation methodology comes years after

Plaintiffs were informed by Google of the very approach that Plaintiffs now contend warrants

sanctions. As detailed below, Plaintiffs’ own correspondence with Google includes, for example,

2021 correspondence from DOJ memorializing that “chats not marked ‘on-the-record’ are not

collected and produced to the Division” and 2020 correspondence with co-Plaintiff Texas showing

the same. Plaintiffs’ silence throughout the entire course of discovery in this litigation is all the

more notable given that the plaintiffs in the Google Play litigation raised this very issue beginning

in December 2021, arguing in a public filing that they had concerns about Google’s reliance on

custodians to turn history on, and pursuing (and subsequently receiving) interrogatory responses

from Google regarding these policies. Every one of the 37 States that is a plaintiff in the Google

Play litigation is a Plaintiff here: Eight are co-Plaintiffs in DOJ’s lawsuit, and the remaining 29

are co-Plaintiffs in the Colorado Plaintiffs’ lawsuit. Yet no party brought any question or any

concern regarding chat preservation to the attention of either Google or the Court throughout the

entire course of discovery in this case. Now is not the time to turn back the clock to revisit long-

settled discovery, and Plaintiffs’ motions present no reason to do so.




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                                  FACTUAL BACKGROUND

       A.      The Google Chat Product

       Google Chat is an instant messaging service offered by Google to the public as part of its

“Google Workspace” solution, a cloud-based system that also includes email (Gmail), document

storage/management (Drive), and other productivity applications (e.g., Sheets, Slides, Docs).1

Google’s Chat product allows for both one-on-one instant messaging and group messaging. The

product also enables a variation of group chat, called “Spaces” (previously called “Rooms”), which

is intended to facilitate “collaborat[ion] on long-term projects with teams or specific groups.” Ex.

1, https://support.google.com/chat/answer/7659784?hl=en.

       For each conversation type, corporate information technology administrators may choose

from two default settings, “history on” or “history off,” and additionally may choose whether the

default may be changed by the employee.2             Id., Ex. 1, https://support.google.com/chat/

answer/7659784?hl=en; see also Ex. 2, https://support.google.com/chat/answer/7664687?hl

=en. Messages sent with “history on” are able to be retained via Google Vault, an information

governance and eDiscovery tool that Google offers as part of Google Workspace; Google Vault

allows the corporate administrator to select the retention period for history-on chats. Ex.

3, https://support.google.com/a/answer/7664184?hl=en; see also Ex. 4, https://support.google.

com/vault/answer/2462365. Messages sent with “history off” are deleted 24 hours from when the

message is sent, and cannot be retained via Google Vault. Ex. 3, https://support.google.


1
  The predecessor product to Google Chat was Google Hangouts, and thus the parties’
correspondence discussed herein contains references to “Hangouts.” For purposes of this brief,
Google uses “Chat” to refer to Google Chat and Google Hangouts.
2
  The exception to the history on/off functionality is for spaces organized by conversation topic,
where      history   is   always     on     and     cannot     be    changed.    Id.,    Ex.    1,
https://support.google.com/chat/answer/7659784?hl=en.



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com/a/answer/7664184?hl=en;       see   also   Ex.   4,   https://support.google.com/vault/answer/

2462365. These settings are static attributes of the Google Chat product, applicable to all third-

party customers who license the product, and not specific to Google’s own use.

       For Google Chat as used by its own employees, Google has chosen “history off” by default

for one-on-one conversations and all group conversations that occur outside of threaded

spaces. Ex. 5, Google Play Hearing Tr. at 53. Threaded spaces are always set to “history on,” and

employees cannot toggle to “history off.” Id. For one-on-one and group conversations outside of

those contexts, as well as flat (i.e., non-threaded) spaces, the employee may change the history

setting in that conversation by simply clicking on a button. Id.

       B.      Google’s Document Preservation, Collection, and Production

       Google has devoted enormous resources to preserving, collecting, reviewing, and

producing relevant documents and data in this litigation and the investigations that preceded

it. Plaintiffs obtained an incredible breadth of document discovery from Google—whether

measured in terms of date range (spanning nearly 20 years), number of custodians (129 in the

litigation alone), the number and scope of search strings utilized to identify responsive documents

(more than 140 search strings, many of which included hundreds of search term permutations), or

the sheer number of documents collected (tens of millions) and produced (approximately 4.3

million documents, comprising approximately 31 million pages).

       All of the Google employees who have been identified as document custodians in this

litigation were placed on legal hold as they were identified during the investigation and litigation,

and they all remain on hold today. Google’s legal hold involves a combination of automated back-

end preservation for certain ESI types, as well as instructions to the custodians. With respect to

chats specifically, the legal hold notice instructed the custodians not to use Google Chat (or any

other messaging apps) to discuss those topics covered by the legal hold. And the notice further


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instructed the custodians that if they do use Google Chat (or any other messaging app) to discuss

any topic covered by the legal hold, then they must make sure the settings preserve the messages,

such as by switching to “history on” for chats. Google has reminded custodians of their

preservation obligations on a regular basis throughout the investigations and litigation.

       Plaintiffs’ motions only concern “history-off” chats generated by document custodians

after the custodian was placed on legal hold. The preservation practice that is now the focus of

Plaintiffs’ motions—Google instructing custodians on legal hold to, on a going forward basis,

either avoid having relevant conversations using Google Chat or to ensure that they preserve those

communications by turning the setting to “history on”—is Google’s long-standing practice. There

are two principal reasons for Google’s historical reliance on custodial compliance. The first is the

nature of the Google Chat product. Google calibrates the length of time records are retained to the

likely importance and usefulness of the record. In the ordinary course, for example, email is

retained for 18 months; on-the-record/history-on chats are retained for 18 months where they occur

in group conversations, flat spaces, and threaded spaces, and 30 days where they occur in a one-

on-one conversation. Ex. 5, Google Play Hearing Tr. at 18, 27, 31; see also DOJ Ex. 3 at -67, -68,

-77; DOJ Ex. 25 at -12652. By contrast, history-off chats are not retained and are deleted within

24 hours from when the message was sent. Ex. 5, Google Play Hearing Tr. at 52; see also DOJ

Ex. 25 at -12652. This calibration reflects Google’s determination that history-off chats are less

likely to be substantive and less likely to be referred to by Google employees in the ordinary course

of business as compared to other categories of ESI such as email and history-on chats that occur

in formal group spaces, informal groups, and one-on-one. Ex. 5, Google Play Hearing Tr. at 15–

18, 27–28, 31–33, 45–46.




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       The second reason for Google’s approach is technological. As explained on its public

website, messages sent with the history-off setting are deleted within 24 hours and are not able to

be retained by the Google Workspace eDiscovery tool. See Ex. 4, https://support.google.

com/vault/answer/2462365 (“Vault is an information governance and eDiscovery tool for Google

Workspace…. You can use Vault for the following data: … Google Chat messages (history turned

on) … Classic Hangouts messages (history turned on); Ex. 3, https://support.google.

com/a/answer/7664184?hl=en (“If you turn history Off, messages are deleted after 24 hours. Vault

can’t hold, retain, or search direct messages that are sent with history turned off.”). Google was

able to extend the retention period for history-on chats, and did so, such that any chats sent with

history on are retained indefinitely throughout the legal hold. DOJ Ex. 3 at -77. But Google’s

Vault tool did not have the same capability with respect to history-off chats, without a product

redesign.

       C.      The Parties’ Correspondence Regarding Chats Before DOJ’s Lawsuit

       Google engaged in extensive discussions with DOJ and various State AGs in response to

pre-suit investigative demands issued in Fall 2019 and early 2020, and submitted to wide-ranging

document and deposition discovery. As detailed below, Google employees’ use of chats and

Google’s policies and practices around the retention of chats were discussed, and both DOJ and

numerous State AGs were aware of Google’s practices as a result of correspondence and deposition

discovery.

       Google’s Response to DOJ’s ESI Questionnaire. Google responded to DOJ’s ESI

Questionnaire in November 2019, in the early months of DOJ’s investigation. DOJ Ex. 3. Google

enclosed with its responses to the questionnaire its two primary written policies in effect at the

time related to document retention, noting that they had been in place since 2013. DOJ Ex. 3 at -

65, -75, -76, -77, -78. Google explained that it “primarily uses the Google-developed ‘G Suite’


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solution for workplace productivity. G Suite is a cloud-based system that includes email (Gmail),

chats (Hangouts/Hangouts Chats), storage/management (Drive), and other productivity

applications (e.g., Sheets, Slides, Docs).” Id. at -67.3 In response to a question about the “use of

text and other messaging applications including Instant Messaging (‘IM’) programs, and the period

for which these messages are retained,” Google responded, “G Suite has messaging capabilities,

including Google Hangouts. Google Hangouts messages are generally retained for a period of 30

days if they have been marked on-the-record, and potentially longer if on-the-record messages are

on legal hold.” Id. at -68 (emphasis added). In the section titled “Preservation Efforts,” id. at -73,

Google explained that it “has put a legal hold in place,” id. at -74. Google stated, “The legal hold

suspends auto-deletion. Documents, including version history, are preserved as of the collection

date.” Id. Google further noted, “The hold notice also instructs custodians to preserve relevant

documents.” Id.

         The enclosed retention policies provided further detail on Google’s practices. The Gmail

retention policy, which at the time “applie[d] to Gmail, Chats, and Hangouts,” contained a section

titled “Exceptions.” Id. at -77, -78. There, it listed “Exceptions to the 18-month (540-day)

retention period,” and as relevant to chats, stated, “On the record chats, and Hangouts with

‘history’ checked on, will be retained for 30 days.” Id. It further noted that “Email, on the record

Chats, and Hangouts with ‘History’ checked on, that are subject to a Legal Hold, will be preserved

for the duration of the Legal Hold.” Id. at -77.

         Additional information about chats was (and is today) publicly available. Google Chat,

and its predecessor product Google Hangouts, has always had the functionality for the user or

administrator to determine whether messages are saved or deleted after 24 hours. Google’s public


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    “G Suite” is now “Google Workspace.”



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product pages specify that the message tool allows for chats to be sent with either history on or

off, and that the latter is not retained and is not able to be searched or retrieved by Google’s e-

discovery tool. See Ex. 4, https://support.google.com/vault/answer/2462365 (“Vault is an

information governance and eDiscovery tool for Google Workspace…. You can use Vault for the

following data: … Google Chat messages (history turned on) … Classic Hangouts messages

(history turned on)”); Ex. 3, https://support.google.com/a/answer/7664184?hl=en (“If you turn

history Off, messages are deleted after 24 hours. Vault can’t hold, retain, or search direct messages

that are sent with history turned off.”).4

        Google’s Response to Texas’s Inquiry Regarding Chat Retention. Google was also

responding to civil investigative demands from a multi-state group led by the Texas AG (one of

DOJ’s co-Plaintiffs in this case, and among the co-Plaintiffs that has participated in the parties’

many discovery communications over the course of this litigation). In January and February 2020,

Google and Texas discussed Google’s chat retention policies and preservation practices at

length. Google’s January 16, 2020 letter provided some of the same information previously

provided to DOJ.5 The parties then participated in two meet-and-confers regarding chats and a




4
  To the extent DOJ suggests that Google’s subsequent standalone chats policy reflected a change
in how history-off messages are treated (see Mot. at 9, describing the November 2020 policy as
“calling for the destruction of history-off chats after 24 hours”), that is wrong. As the November
2020 policy expressly states, there was no change with respect to the retention of history-off
chats. DOJ Ex. 25 at -12654. And as DOJ acknowledges elsewhere, this is a function of the static
product settings and is the case for all who use Google Chat.
5
  Ex. 6 at 4 (Jan. 16, 2020 Letter from Google to Texas) (“Google primarily uses the Google-
developed ‘G Suite’ solution for workplace productivity. G Suite is a cloud-based system that
includes email (Gmail), chats (Hangouts/Hangouts Chats), storage/management (Drive), and other
productivity applications (e.g., Sheets, Slides, Docs). Google Hangouts messages are generally
retained for a period of 30 days if they have been marked on-the-record, and potentially longer if
the custodian of the on-the-record messages are on legal hold. To the extent that a custodian has
on-the-record responsive Hangout chat messages retained while on a legal hold or that were still


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number of other topics. Following those calls, Texas wrote to Google “to memorialize our

agreements from the two calls and to highlight the outstanding issues.” Ex. 7 at 1 (Feb. 4, 2020

Letter from Texas to Google). Texas’s description of the parties’ calls reflected its express

understanding that chats “are not retained in any way,” including for users on legal hold, “unless

they are marked on-the-record”:

       The parties further discussed chat and text messages. As we understand your
       description of this type of communication, Google Hangouts messages are akin to
       instant messages between Google employees. These messages are not retained in
       any way unless they are marked on-the-record by the user. If marked on-the-
       record, they are maintained for thirty days and then deleted. If the user is on a legal
       hold, the user is told to mark all chats as on-the-record. If the user does not take
       this action for every conversation, the unmarked ones will be deleted
       immediately. If a person on legal hold marks the chats as on-the-record, the marked
       records are retained indefinitely.

Ex. 7 at 2 (Feb. 4, 2020 Letter from Texas to Google (emphases added)). Google’s response to

this letter further confirmed that chats that are not on-the-record are not retained, and further

clarified that the default setting is off-the-record: “Google Hangout messages by default are set to

be ‘off-the-record.’ Off-the-record messages are not retained by Google.” Ex. 8 at 4 (Feb. 7, 2020

Letter from Google to Texas).

       At no point following these communications did Texas tell Google that it considered

Google’s approach to chat preservation to violate the Federal Rules or constitute sanctionable

conduct.

       During the investigations, Google had agreed to the States’ and DOJ’s requests that the

States and DOJ be permitted to share information produced by Google to other States and to

DOJ. Ex. 10 at ¶ 6 (Rubinstein Declaration).



retained pursuant to the 30-day retention policy at the time documents were collected pursuant to
the CID, those messages will be included in productions to OAG.”) (emphasis added).



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         D.      The Parties’ Correspondence Regarding Chats Since DOJ Filed Its Search
                 Lawsuit

         On October 20, 2020, DOJ (joined by eleven states, including Texas) filed its lawsuit

challenging Google’s search distribution contracts.6 DOJ’s investigation to that point had focused

on both Google’s search distribution contracts and its ad tech business.7

         State AGs’ Questioning of Google Witness Regarding Chat Retention. A separate

consortium of States continued their investigation of Google’s Search business, ultimately filing a

lawsuit two months later on December 17, 2020. In an investigative deposition taken on

November 16, 2020 by Colorado (and attended by attorneys representing Utah, Nebraska,

California, Iowa, and Tennessee), the questioner asked a Google executive specifically about

Google’s chat retention policy. In response, the Google witness testified that the default is 24

hours and that to save the conversation for a longer period, the user may toggle a switch:

         Q.    Okay. And how are those Google Chat functions archived?

         A.    That depends on the settings. I don’t know the details of how they are
               archived. But some of them save and some of them are more like 24 hours.

         Q.    And what -- what determines whether something is saved or it is just gone in
               24 hours?

         A.    There’s not an automatic thing in the background. You are either marked as,
               in the 24-hour mode, or you're in the saving mode.

         Q.    And is that -- is that based upon what the users do in terms of designating it
               as a -- in a saved mode?

         A.    A user designates it, yes. There’s a default on it.

         Q.    Default, whether to save or -- or to not save?


6
    Three additional States subsequently joined DOJ’s case. ECF No. 94 at 2.
7
  Years later, on January 24, 2023, DOJ with a number of States filed a complaint challenging
certain conduct related to Google’s ad tech business in federal court in the Eastern District of
Virginia.



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       A.     Yeah. And then a user can change the setting.

       Q.     I see. And -- and in terms of the users, are there instructions generally given
              to people as to how certain types of chats should be saved or not or how the -
              - the settings should be set as a default?

       A.     I think in general, rather than trying to give the instruction, the company just
              sets the default.

       Q.     And what is the default?

       A.     I believe the default now is the 24 hours, but I don’t know if that’s true across
              the whole company.

        ...

       Q.     And if there is a Chat that someone says I want to keep this, this is important
              information, how does -- how does someone do that?

       A.     It can say they can toggle a switch. And then it will save it.

Ex. 9 at 55:5–56:12, 56:25–57:5 (E. Reid CID Tr., Nov. 16, 2020).8

       At no point did the Plaintiffs in the Colorado case (either during the investigation or at the

time the litigation was filed one month after this deposition) tell Google that they considered

Google’s approach to chat preservation to violate the Federal Rules or constitute sanctionable

conduct.

       Google’s Response to DOJ’s Inquiry Regarding Chat Retention in the Ad Tech

Investigation. Meanwhile, DOJ’s ad tech investigation was continuing, and DOJ and Google

expressly discussed the preservation of Hangouts/Chats. On a December 3, 2020 meet-and-confer

call, counsel for Google explained to DOJ that a Hangouts user has the ability to go on the record

or off the record, and if a conversation is off the record, then it is not being retained. Ex. 10 at ¶



8
  The same Google executive was re-deposed again in this litigation on January 11, 2022 by both
the Colorado Plaintiffs and DOJ; undersigned counsel presumes that DOJ reviewed the
investigative deposition transcript in preparation for that deposition, if DOJ had not previously
reviewed it.



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11a (Rubinstein Declaration). DOJ’s subsequent letter reflects that it understood that the

preservation of chats was not done as an automated back-end system setting but rather depended

on the custodian on legal hold complying with the hold notice by marking the message as on the

record. Ex. 11 at 1-2 (Dec. 23, 2020 Letter from DOJ to Google (“The Division requests that the

Company identify . . . any steps taken by the Company to ensure employees comply with the

preservation notice, including whether employees properly preserve responsive conversations

from chats . . . as ‘on the record.’”)); see also Ex. 12 at 2 (Jan. 28, 2021 Letter from Google to

DOJ (Google’s response, advising that “[f]or chats, employees are instructed to keep all potentially

responsive conversations as ‘on the record,’ and are sent a reminder approximately every six

months”)).

       At no point during the parties’ discussions did DOJ tell Google that it considered Google’s

approach to chat preservation to violate the Federal Rules or constitute sanctionable conduct.

       Google’s Responses to Plaintiffs’ Questions Regarding Chats Collection and

Production in the Search Litigation. The exchanges with DOJ in the ad tech investigation

regarding chat preservation occurred at the same time document discovery was beginning in this

litigation. DOJ served its first requests for production on January 5, 2021, and its second on

January 11, 2021. Other than in a deposition at the end of discovery (described infra), the parties

did not discuss chat preservation in the context of the present litigation. Plaintiffs sought

confirmation from Google that chats were among the types of ESI it would be reviewing and

producing (i.e., that Google was not excluding that file type from its collection), see DOJ Exs. 28,

32, and further sought information regarding the mechanics of how chats would be identified for

responsiveness review—specifically, which search terms would be run across the collected chats

and the method of how they would be applied (i.e., whether a single message would have to contain




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the complete search string to be captured in the collection or whether the search string would be

run across multiple messages), see DOJ Exs. 29, 30, 31, 32. As addressed in more detail infra p.

37, Google did not understand these discussions in the manner that DOJ now construes them—as

somehow representing that all chat messages, including those sent with history off, were being

preserved. DOJ Mot. at 10, 28–29. Counsel for Google had already expressly informed DOJ and

Texas (who was a regular participant on the parties’ meet-and-confer calls in the Search litigation)

that chats were not retained for custodians on legal hold unless the chat was on the record; thus,

there was no reason to think that Google’s practices were not well-known and understood by DOJ

and their co-Plaintiffs.9 And with respect to the Colorado Plaintiffs, they had already obtained

witness testimony on the matter, including the fact that whether off-the-record chats were saved

beyond 24 hours depended on how the message is designated by the user.

       DOJ’s Questioning of Ad Tech Witnesses Regarding Chat Preservation and Request

for Additional Custodial Data Reflecting Chat Preservation. Concurrently with these

conversations in Spring and Summer 2021, DOJ was taking the investigative depositions of

Google witnesses in its ad tech investigation. DOJ questioned Google employees specifically

about the purposes for which they used Google Chat and whether they marked chats on the

record. See, e.g., Ex. 13 at 34:23–35:7, 282:19–283:23 (                               ). DOJ also

requested that Google provide “the number of ‘on the record’ chats collected from each [specified]



9
   The same outside counsel for Google who had led its response to document collection and
production in response to the 2019 DOJ CIDs continued to lead the response to the follow-on 2020
ad tech CID through December 2020, before transitioning the day-to-day CID response work to
another law firm currently leading defense of that case. Ex. 10 at ¶¶ 3–8 (Rubinstein
Declaration). Thus, the same lawyers for Google who had communicated with DOJ lawyers
regarding the 2019 CIDs, and who were continuing to communicate with DOJ regarding the Search
litigation, were also communicating with DOJ over the continuing ad tech investigation. In
addition, at least one DOJ attorney participated in meet-and-confer calls about both the 2019 DOJ
CIDs and the 2020 ad tech CID. Ex. 10 at ¶ 9 (Rubinstein Declaration).


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custodian.” Ex. 14 at 2 (June 1, 2021 Letter from DOJ to Google). DOJ’s June 1, 2021 letter

reflected its understanding that only on-the-record chats are collected: “[W]e understand from you

that relevant ‘on the record’ chats are collected and produced as part of Alphabet’s document

productions, but that chats not marked ‘on the record’ are not collected and produced to the

Division.” Ex. 14 at 2 (June 1, 2021 Letter from DOJ to Google). The following month, DOJ

reiterated its request for custodial-level document collection information, citing deposition

testimony and its review of chats produced where “a chat participant requests to have a

conversation with history off.” Ex. 15 at 2 (July 23, 2021 Letter from DOJ to Google). Google

provided the requested data on July 28, 2021, identifying the total number of chats collected from

the requested custodial groups, as well as the number collected for each individual custodian. Ex.

16 at 2–6 (July 28, 2021 Letter from Google to DOJ). Following these exchanges, DOJ continued

to question Google witnesses who sat for ad tech investigative depositions regarding the purposes

for which they used chat.

       At no point during the remainder of DOJ’s ad tech investigation, which continued for

another 18 months, did DOJ ever inform Google that it considered Google’s chat retention

practices (including its reliance on instructions to custodians to place relevant chats on the record)

to violate the Federal Rules or constitute sanctionable conduct.

       Google Play Plaintiffs Litigate Google’s Chat Retention Policies. During this same time

period, Google was simultaneously litigating antitrust claims in the Northern District of California

brought by a number of States and private plaintiffs regarding Google’s policies on the Google

Play Store (an app store found on Android mobile devices). The first private case was filed on

August 13, 2020, and a consortium of 37 States (each of which is also a plaintiff in the Search

cases before this Court) filed suit on July 7, 2021; the cases are proceeding as part of an MDL




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before Judge Donato. The plaintiffs in the Google Play litigation questioned Google witnesses

regarding their use of Google Chat, along the same lines as DOJ’s questioning of witnesses in its

ad tech investigation. The Google Play plaintiffs first raised an issue regarding “Google’s

preservation of relevant Google Chats and text messages” to that court in December 2021. The

Joint Case Management Statement, filed on the public docket, contained an 8-page recitation of

the parties’ respective positions. Ex. 17 (Case No. 3:21-md-02981-JD, ECF No. 233) at 6–

14. Plaintiffs cited Google’s chat retention policy (which was first memorialized in a standalone

document in November 2020) and deposition testimony explaining that by default certain chats

would “disappear after 24 hours” unless a participant turned history on. Id. at 6–9. Google’s

responsive statement explained that “any deletion of Chats was based on Google’s usual course

retention of chats for 24 hours” and that custodians on legal hold are asked to preserve any

conversation about the topics covered by the hold. Id. at 10–14.

       Discussions at the Close of the Search Litigation Fact Discovery Period. Following

discussions in Spring/Summer 2021 about the methodology by which Google would apply the

agreed search terms to chats (and text messages), the parties did not discuss chats again in the

Search litigation until the final months of fact discovery. On March 30, 2022, DOJ requested

specific information about the volume of produced chats. DOJ Ex. 33 at -31, -32 (March 30, 2022

Email from DOJ to Google). Google provided the requested information, including identifying

the Bates numbers of chats produced during the investigation and litigation. DOJ Ex. 33 at -30

(April 13, 2022 Email from Google to DOJ). In response, DOJ requested that Google apply

broader search terms to the collected chats. DOJ Ex. 34 at -34 (April 26, 2022 Letter from Google

to DOJ). Google declined to run DOJ’s proposed new set of terms because, among other things,

discovery was set to close in a matter of days, the search terms had been negotiated extensively




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and productions completed months earlier, and the low search-term hit rate for chats confirmed

their limited relevance. DOJ Ex. 35 at -35, -36 (May 2, 2022 Letter from Google to DOJ). Google

had already produced more than 30 million pages of documents, and there was no indication that

chats were a material source of unique information relevant to the litigation. Id. Indeed, Plaintiffs

have not used any of the produced chats as a deposition exhibit at any of the depositions of the 52

current or former Google employees. DOJ did not further pursue its request, and fact discovery

closed.

          During this same time, Spring 2022, the Google Play plaintiffs were questioning Google

witnesses about their use of chats. In one of the last depositions in the Search litigation, DOJ asked

a witness whether she used instant messaging, and when she responded that she used Google Chat,

followed up with the question, “Do you know if those Chat histories are saved?” The witness

responded, “I think there are settings, and so users can choose whether to save them or not.” Ex.

18 at 37:14–38:8 (A. Kartasheva Tr., May 3, 2022). DOJ did not inquire further or raise any

concerns with Google.

          Motion for Sanctions in Google Play Litigation. On November 23, 2022, more than six

months after fact discovery closed in this litigation, DOJ belatedly requested additional

information about chat retention. This untimely request came approximately six weeks after the

plaintiffs in the Google Play litigation filed a motion for sanctions.

          Google opposed the motion in Google Play and explained, among other things, that its

preservation practices for chats were reasonable. While Google continues to believe that its

practices were reasonable and resulted in the appropriate retention and production of relevant

information to the full extent required by the Federal Rules, in light of the proceedings in Google

Play, Google developed and implemented a technological process for turning history on for




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custodians on legal hold in this case. On February 8, Google’s counsel confirmed to Plaintiffs that

it had implemented that procedure. Nonetheless, in the midst of summary judgment briefing,

Plaintiffs filed these motions.

                                      LEGAL STANDARD

       Under Rule 37(e), sanctions may only be sought when “electronically stored information

that should have been preserved . . . is lost because a party failed to take reasonable steps to

preserve it”—and when the information “cannot be restored or replaced through additional

discovery.” Fed. R. Civ. P. 37(e). In addition, before a court can determine that sanctions are to

be imposed under Rule 37(e)(1), there must be a “finding” of “prejudice . . . from the loss of the

information.” Id. If a court finds prejudice, it may only order “measures no greater than necessary

to cure the prejudice.” Id. The specified measures set out in Rule 37(e)(2) may not be invoked

unless there is a “finding that the party acted with the intent to deprive another party of the

information’s use in the litigation.” Id. Further, like other discovery motions, sanctions motions

under Rule 37 must be timely filed. Long v. Howard Univ., 561 F. Supp. 2d 85, 91 (D.D.C. 2008).

                                          ARGUMENT

       Plaintiffs’ motions should be denied for multiple independent reasons. As a threshold

matter, the motions are untimely and should be denied on that basis alone. Plaintiffs have long

known about the chat preservation practices about which they now complain. Plaintiffs further

fail to demonstrate that sanctions are warranted under Rule 37, both because (1) Google’s

preservation efforts were reasonable, and (2) Plaintiffs were not prejudiced from any purported

loss of chat messages at issue here. Additionally, it is meritless to suggest that Google, with its

extensive collection and production of documents, “acted with the intent to deprive” Plaintiffs of

the information necessary to litigate these cases. Finally, there is no need for the additional

“discovery on discovery” that Plaintiffs seek in order for the Court to deny Plaintiffs’ motions. The


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pertinent facts regarding Google’s preservation efforts regarding chats are already known to

Plaintiffs, and the Court is well aware of the massive discovery record afforded Plaintiffs in this

case, such that no prejudice can be established. In sum, nothing more is needed to resolve the

question of whether Google has engaged in sanctionable conduct.

I.       Plaintiffs’ Unreasonable Delay in Raising Any Objection Bars Their Motions.

         Plaintiffs sat on any objection they had to Google’s approach to preserving chats for the

entire course of discovery in this litigation. They raised the issue for the first time in this litigation

in November 2022—two years after they were informed that history-off chats are not automatically

preserved, eleven months after the parties in the Google Play litigation first publicly raised the

issue, and six months after the close of fact discovery. Plaintiffs claim that Google’s November

2019 disclosures did not suffice to notify them that history-off chats are not automatically retained,

DOJ Mot. at 7–9, but regardless of the merits of that claim, it makes no difference here because

they were informed of this soon after the Complaints in these cases were filed, just as discovery

was getting off the ground. As noted above, Plaintiffs’ own words confirm that they well

understood the policies to which they only now object.

         It is well-established that “unreasonable delay may render such a [sanctions] motion

untimely.” Long, 561 F. Supp. 2d at 91; see also, e.g., THEC Int'l-Hamdard Cordova Grp.-Nazari

Constr. Co. Joint Venture v. Cohen Mohr, LLP, 301 F. Supp. 3d 1, 11–12 (D.D.C. 2018); Martin

v. D.C., 78 F. Supp. 3d 279, 291 (D.D.C. 2015). In assessing the “timeliness of a motion for

sanctions,” courts consider “such factors as when the movant learned of the discovery violation,

how long he waited before bringing it to the court’s attention, and whether discovery has been

completed.” Long, 561 F. Supp. 2d at 91. Applying those factors, Plaintiffs’ motions here are

“clearly untimely under the unreasonable delay standard,” id., and should be denied for that reason

alone.


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       A.      Plaintiffs Have Known About the Very Practices They Now Challenge for at
               Least Two Years.

       While DOJ complains about Google’s November 2019 disclosures in an ESI

Questionnaire, those disclosures show that the distinction between “on-the-record” and other chats

was apparent to anyone who wanted to pursue the matter from the outset of DOJ’s

investigation. For instance, the ESI Questionnaire response specifies that chat “messages are

generally retained for a period of 30 days if they have been marked on-the-record, and potentially

longer if on-the-record messages are on legal hold.” DOJ Ex. 3 at -68 (emphases added). The

Gmail retention policy produced at the same time, which covered Google Chat in addition to

Gmail, similarly specifies that “On the record Chats” are retained for 30 days. Id. at -77 (emphasis

added). And, of course, it is no secret how Google’s Chat product operates. It is a publicly

available product. Google’s product website explains how one can “Turn history on or off in

Google Chat”—that is, a user “can choose to save your conversation or have it automatically

deleted after 24 hours.” Ex. 2, https://support.google.com/chat/answer/7664687?hl=en.

       Regardless, there can be no question that Plaintiffs have been well aware—since the outset

of discovery in this litigation at the latest—of the fact that there was a subset of chats not

automatically retained. As explained above in detail, see supra pp. 9–17, Plaintiffs were expressly

informed of Google’s approach to chat retention through correspondence with the various

Plaintiffs in the course of their investigations. The State of Texas AG’s office—which has

participated in every aspect of discovery in this litigation, and is among the State AGs who

regularly attend the parties’ meet-and-confer calls and participate in discovery correspondence—

confirmed their clear understanding of how chat preservation worked in February 2020. They

summarized Google’s disclosures to them as follows: (1) “[Chats] are not retained in any way

unless they are marked on-the-record by the user”; (2) “If the user is on a legal hold, the user is



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told to mark all chats as on-the-record”; and (3) “If the user does not take this action for every

conversation, the unmarked ones will be deleted immediately.” Ex. 7 at 2 (Feb. 4, 2020 Letter

from Texas to Google).

       Likewise, DOJ years ago participated in meet-and-confers, exchanged correspondence, and

took testimony from Google witnesses concerning chat retention in connection with its ad tech

investigation. Supra pp. 12-13, 14-15. As memorialized in June 2021 correspondence, DOJ

acknowledged that “we understand from [Google] that relevant ‘on the record’ chats are collected

and produced as part of Alphabet’s document productions, but that chats not marked ‘on the

record’ are not collected and produced to the Division.” Ex. 14 at 2 (June 1, 2021 Letter from

DOJ to Google) (emphasis added). And DOJ’s prior correspondence confirmed its understanding

that the preservation of chats was not done as a back-end system setting, but rather depended on

the custodian on legal hold complying with the hold notice by marking the message as on the

record. See Ex. 11 at 2 (Dec. 23, 2020 Letter from DOJ to Google). Finally, as noted above,

Colorado’s counsel specifically elicited deposition testimony from a Google witness as to how

chat preservation functions. Supra pp. 11–12.

       Plaintiffs invoke the Google Play litigation, but that litigation only confirms Plaintiffs’

long-held knowledge of the practices they now belatedly challenge. The Google Play MDL

includes a lawsuit brought by 37 States Attorneys General. Every single one of those States is a

Plaintiff in the Search litigation. The Google Play plaintiffs first challenged Google’s Chat

retention policies in a position statement filed on the public docket in December 2021. Ex. 17

ECF No. 233 at 6–7 (outlining their “concerns” about Google’s Chat retention practices, in

particular, “a litigation hold predicated on each employee’s individual determination of

relevance”). Those plaintiffs requested that Google answer interrogatories regarding, inter alia,




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the manual retention of chats, which Google subsequently did, and continued to pursue their

challenge throughout 2022, ultimately filing a motion for sanctions in October 2022.

       Plaintiffs’ motions also cite internal Google documents, characterizing them as a revelation

regarding Google’s use of Chat. DOJ Mot. at 3–6. But the very documents that Plaintiffs now

cite have been in their hands for years—produced by Google in this litigation and the investigation

that preceded it. Of the twenty-one documents cited by DOJ (see DOJ Mot. at 3–6, “Google’s Use

of Chats”), all but two were produced in this matter: fifteen were produced in 2019 and 2020

during the investigation, and the remaining four were produced in 2021 during document discovery

in the litigation.10 As a result, far from supporting Plaintiffs’ motions, their citation only further

evidences Plaintiffs’ untimeliness in bringing this motion now.11          Underscoring the point,

Plaintiffs’ counsel did not ask a single Google witness about any of those documents during the

dozens of days of depositions in the investigation and litigation. See, e.g., Equate Media, Inc. v.

Suthar, 2022 WL 2101710, at *3 (C.D. Cal. Feb. 2, 2022) (denying sanctions, including because

“Plaintiffs’ own lack of diligence caused their dilemma”); Emery v. Harris, 2014 WL 710957, at

*6 (E.D. Cal. Feb. 21, 2014) (denying sanctions when movant “fail[ed] to demonstrate any degree




10
   The production dates are as follows: Exhibits 10 and 11 were produced in October 2019;
Exhibits 2, 5, 6, 7, 9, 12, 13, 18, 19, and 22 were produced between January and June 2020;
Exhibits 17, 20, and 21 were produced in August and September 2020; Exhibits 8 and 16 were
produced in March 2021; and Exhibits 14 and 15 were produced in November 2021.
11
   DOJ misconstrues a number of the cited documents, including the training presentation they
highlight. DOJ Mot. at 5, citing DOJ Ex. 1, PX-120. The “Communicate with Care” presentation
provides a number of guidelines; DOJ focuses on the guideline “Avoid Communicating When
Angry or Tired.” The hypothetical exercise counsels employees that the best option in the
circumstance of late-night frustration over ongoing engineering problems is to get a good night’s
sleep and talk to the team lead in the morning, rather than sending a middle-of-the-night email or
chat message while angry and frustrated. DOJ Ex. 1, PX-120 at -259-264.



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of diligence” by waiting to file motion for destroyed videotape over a year after being on notice of

potential spoliation).

       B.      Plaintiffs Never Before Brought Any Objection to Either Google or the Court

       Not only were Plaintiffs long ago on notice of Google’s chat retention practices, they never

raised any objection. At no point before now did DOJ or any of the Plaintiff States register any

concern in this case—not in the eighteen months of discovery, with its monthly status conferences;

not by the close of fact discovery in May 2022; and not even in the six months between the close

of fact discovery and Google’s filing of its motion for summary judgment. That renders Plaintiffs’

misgivings untimely. See Martin, 78 F. Supp. 3d at 320; Long, 561 F. Supp. 2d at 91; Al-Sabah v.

Agbodjogbe, 2019 WL 4447235, at *4–5 (D. Md. Sept. 17, 2019) (denying sanctions motion as

untimely because movant was “fully apprised of the issue long before they brought it to the Court’s

attention” and “gave no explanation for their tardiness”); Sherwood Inv. Overseas Ltd., Inc. v.

Royal Bank of Scotland N.V., 2015 Bankr. LEXIS 2513, at *5–6 (Bankr. M.D. Fla. Jul. 22, 2015)

(denying a spoliation motion as untimely when movant waited over a year after discovering facts

underlying its spoliation motion before filing it, and noting that “courts view spoliation motions

filed near a dispositive motion deadline . . . with extreme skepticism”), aff’d, 2016 WL 5719450

(M.D. Fla. Sept. 30, 2016).

       C.      Plaintiffs Sat on Any Objection Until Long After the Close of Fact
               Discovery.

       It also is indisputable that Plaintiffs’ motions were filed well after “discovery has been

completed.” Long, 561 F. Supp. 2d at 91; see also Martin, 78 F. Supp. 3d at 291 (citation

omitted).

       In fact, Plaintiffs’ motions were filed more than nine months after the close of fact

discovery—in the midst of briefing on case-dispositive summary judgment motions—a fact that



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clearly weighs in favor of finding their motions untimely. See, e.g., Larios v. Lunardi, 442 F.

Supp. 3d 1299, 1306 (E.D. Cal. Mar. 5, 2020) (motion untimely where party waited to raise

spoliation claim until “after discovery closed and the dispositive motion deadline passed”), aff’d,

856 F. App’x 704 (9th Cir. 2021); Olson v. Shawnee Cnty. Bd. of Comm’rs, 7 F. Supp. 3d 1162,

1200 (D. Kan. 2014) (spoliation argument untimely when raised after defendant moved for

summary judgment); Am. Nat’l Prop. & Cas. Co. v. Campbell Ins., Inc., 2011 WL 3021399, at *3

(M.D. Tenn. July 22, 2011) (denying spoliation motion as untimely when it was brought four

months after the close of discovery); Rhabarian v. Cawley, 2014 WL 546015, at *3 (E.D. Cal. Feb.

11, 2014) (“the time to raise these issues [of alleged spoliation] was during discovery, and not after

the deadline for dispositive motions”), aff’d, 701 F. App’x 676 (9th Cir. 2017). This factor should

weigh especially heavily in the context of this case, where the parties were held to a strict discovery

schedule and had the opportunity to expeditiously raise discovery disputes with the Court on a

monthly basis.12

                                          *       *       *

       In short, Plaintiffs’ motions are barred at the outset because they were on notice of Google’s

approach to chats for years, yet did not object until well after the close of discovery. Those tactics

should not be countenanced. Martin, 78 F. Supp. 3d at 291; Long, 561 F. Supp. 2d at 91.




12
   Plaintiffs cite two cases where courts permitted Rule 37 motions to be filed after the close of
discovery. DOJ Mot. at 29. But those cases both expressly recognized that the late filing of the
motions weighed against timeliness; they found that the circumstances presented outweighed that
factor in those cases. See GMS Indus. Supply, Inc. v. G&S Supply, LLC, 2022 WL 853626, at *4
(E.D. Va. Mar. 22, 2022); Goodman v. Praxair Servs., Inc., 632 F. Supp. 2d 494, 508 (D. Md.
2009). That is not the situation here.



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II.    Google Took Reasonable Steps to Preserve Relevant Documents.

       Plaintiffs’ motions also fail because they have not met the requirements of Rule 37. Rule

37 provides that sanctions for lost ESI may only be awarded if a party “failed to take reasonable

steps” in its preservation. Fed. R. Civ. P. 37(e) (emphasis added). “This rule recognizes that

‘reasonable steps’ to preserve suffice; it does not call for perfection.” Fed. R. Civ. P. 37(e)

advisory committee’s note to 2015 amendment. Indeed, “perfection in preserving all relevant

electronically stored information is often impossible.” Here, Google’s vast efforts at preserving

documents relevant to Plaintiffs’ claims cannot be deemed unreasonable.

       As described earlier, Google undertook an extraordinary scope of preservation here. To

begin, Google issued written preservation notices to document custodians and proceeded to collect

documents from 129 current and former employees during the litigation, running 141 search

strings—adding up to tens of thousands of search term permutations. Google additionally

collected text messages from dozens of custodians, in response to Plaintiffs’ requests. The ensuing

collection totaled tens of millions of documents.

       As part of its ESI efforts, it is indisputable that Google in fact preserved and collected

chats. As noted above, Google collected hundreds of thousands of chats that were preserved

among the data retrieved for the agreed-upon document custodians. These included not only those

chats occurring in threaded spaces, which were automatically set to “history on,” but also one-on-

one and group chats where individuals toggled the setting to “history on” to maintain them. To

the extent Plaintiffs seek to leave the impression that Google’s preservation efforts bypassed chats

altogether, that would be demonstrably incorrect. At issue in Plaintiffs’ motions are just one sub-

category of chats: those sent with history off.

       And as for that category, the only such chats at issue would be those created going forward,

after the issuance of Google’s legal hold—years after the principal events at issue over which


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Plaintiffs brought suit. As described above, history-off chats disappear within 24 hours. It is

uncontested that there was no requirement to maintain such chats before Google issued its

litigation hold. Plaintiffs expressly recognize as much. See DOJ Mot. at 17 (“Google thus had a

duty to preserve chat messages since 2019, which the company acknowledged when it issued a

litigation hold”) (emphasis added); Colo. Pls. Mot. at 5–6 (Google’s duty to preserve began upon

receipt of investigative demands in 2019 and 2020); see also Fed. R. Civ. P. 37(e) advisory

committee’s note to 2015 amendment (“[t]he rule does not apply when information is lost before

a duty to preserve arises”). As a result, the only history-off chats at issue are those that may have

been exchanged by custodians after the legal hold was implemented.

       Google’s preservation efforts did not ignore those chats. Rather, Google took specific steps

to address them. Google explicitly instructed its employees on legal hold to not use messaging

apps going forward, including Google Chat, to discuss topics covered by the legal hold—and

additionally instructed them, if they did still use such apps, to ensure that the messages were

preserved, such as by turning history “on.” See La Belle v. Barclays Cap. Inc., 340 F.R.D. 74, 84

(S.D.N.Y. 2022) (court was “not prepared to find that Barclays acted unreasonably in assuming

that its employees complied with” policy against discussing company business on personal

devices— “notwithstanding [plaintiff’s] claim that employees frequently violated the policy”); see

also USI Ins. Servs. LLC v. Bentz, 2020 WL 7753690, at *7 (D.N.D. Dec. 29, 2020) (court “[did]

not find anything sanctionable” in litigant’s decision to rely on employees to search their own text

messages and emails for documents relevant in litigation), aff’d, 2021 WL 9666616 (D.N.D. Feb.

4, 2021).

       Moreover, Google’s approach must be understood not only in the context of its broader

preservation efforts, but its understanding that this subset of history-off chats are typically to be




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used by its employees for short communications, not more substantive analyses of issues relevant

to the litigation. Ex. 5, Google Play Hearing Tr. at 45–46. Accordingly, the probability that they

would contain substantive, relevant communications was far less than other sources of potentially

relevant documents. See Laughlin v. Stuart, 2020 WL 4747665, at *2 (D. Minn. Aug. 17, 2020)

(“Rule 37(e) requires the preserving party to maintain only relevant evidence, as viewed from that

party’s perspective.” (emphasis added)), aff’d, 2020 WL 5799497 (D. Minn. Sept. 29, 2020); Ala.

Aircraft Indus., Inc. v. Boeing Co., 319 F.R.D. 730, 740–41 (N.D. Ala. 2017) (“[E]ven when

litigation is reasonably foreseeable, ‘[a] corporation under a duty to preserve is not required to

keep every shred of paper, every e-mail or electronic document, and every backup tape . . . In

essence, the duty to preserve evidence extends to those employees likely to have relevant

information—the key players in the case, and applies to unique, relevant evidence that might be

useful to the adversary.’” (alterations in original) (citation omitted)), aff’d, 2022 WL 433457 (11th

Cir. Feb. 14, 2022). In other words, as the Advisory Committee notes to Rule 37(e) state,

“proportionality” must be considered in evaluating reasonableness. Fed. R. Civ. P. 37(e) advisory

committee’s note to 2015 amendment; see also Bulies v. MSC Cruises, S.A., 2022 WL 2340959,

at *3 (S.D. Fla. Mar. 14, 2022) (“The mere fact that a party had the ability to preserve more ESI

does not necessarily mean that a decision to preserve less is evidence of a breach of a duty. . .

Rather, the determination of what is reasonable focuses on the nature, significance, and

proportionality of the ESI preserved.”).

       In contrast to history-off chats, Plaintiffs rely on cases where litigants failed to preserve

ESI with the most relevance to the legal claims at issue. See, e.g., DOJ Mot. at 18–19; Vasser v.

Shulkin, 2017 WL 5634860, at *5–6 (D.D.C. Nov. 22, 2017) (defendant destroyed hiring files that

“would clearly have shed light on the truth of [Plaintiff’s] claim” for her employment claim); DR




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Distribs., LLC v. 21 Century Smoking, Inc., 513 F. Supp. 3d 839, 981–2 (N.D. Ill. 2021)

(unsearched email accounts “were used for nearly every facet of Defendants’ business” and other

missing “ESI went right to the core of Plaintiff’s unclean hands defense”); Apple Inc. v. Samsung

Elecs. Co., 881 F. Supp. 2d 1132, 1148 (N.D. Cal. 2012) (Samsung “did not produce any emails”

from multiple key custodians, including crucial emails on product design relevant to the patent

dispute) mot. for relief from judgment granted in part by Apple Inc. v. Samsung Elec. Co., 888 F.

Supp. 2d 976, 999–1000 (N.D. Cal. 2012). Plaintiffs also repeatedly cite cases that do not even

apply the standard from the 2015 amendment to Rule 37 that is at issue here.13 DOJ Mot. at 17–

20.

       Even if in hindsight Plaintiffs now argue that Google “could have done more” with respect

to history-off chats, that is decidedly not the standard under Rule 37. As the Advisory Committee

notes emphasize, “The rule calls for only reasonable steps to preserve.” Fed. R. Civ. P. 37(e)

advisory committee’s note to 2015 amendment. In other words, “perfection” is not only not the

standard, but is recognized to be “often impossible.” Id.; see Burns v. Medtronic Inc., 2017 WL

11633269, at *4–5 (M.D. Fla. Aug. 9, 2017) (finding, in context of allegedly missing text

messages, that while company “certainly could have done more to ensure that no relevant ESI was

lost,” there was “no basis to conclude that Defendants, even a sophisticated party like Medtronic,



13
   Plaintiffs move under Rule 37(e), a provision that was added to the Federal Rules in 2015,
replacing the prior provision. That amendment was partly motivated by the reality that modern
discovery involves such a high volume of ESI and that the rule should only require reasonable
steps—“it does not call for perfection.” Fed. R. Civ. P. 37(e) advisory committee’s note to 2015
amendment. The new rule’s commentary further emphasized the importance of carefully
considering whether prejudice actually resulted from any lapse. See id. Plaintiffs cite cases
applying the prior provision, when the rule did not explicitly require a reasonableness analysis or
focus on the need for a more flexible standard. See, e.g., Zubulake v. UBS Warburg LLC, 220
F.R.D. 212, 216 (S.D.N.Y. 2003); Vasser, 2017 WL 5634860, at *2; Samsung, 888 F. Supp. 2d at
985.



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were required to take additional measures to ensure preservation”); see also, e.g., Easterwood v.

Carnival Corp., 2020 WL 6781742, at *8 (S.D. Fla. Nov. 18, 2020) (“Defendant’s failure to

preserve all relevant ESI is not fatal where it has undertaken reasonable steps and . . . preserved

the most pertinent CCTV footage.”).14

       Indeed, the massive preservation undertaking by Google in this case stands in stark contrast

to, for example, what occurred in Borum v. Brentwood Village, LLC, 332 F.R.D. 38 (D.D.C. 2019),

a case cited repeatedly by Plaintiffs. There, “[f]or almost two years after the litigation began, the

entirety of [an organization’s] efforts to protect against the loss of evidence consisted of, at most,

an oral warning that ‘might have been mentioned at a staff meeting.’” Id. at 46. Likewise in DR

Distribs., LLC., 513 F. Supp. 3d at 889, 911, 915, the defendant did not issue a written litigation

hold; in fact, no one searched the main custodian’s primary email account for seven years after

being on notice of litigation despite the account’s auto-deletion policy. Here Google undertook a

sweeping effort to preserve, collect, and produce tens of millions of pages of documents to

Plaintiffs. The differences are striking—and should be dispositive here.

III.   Plaintiffs Were Not Prejudiced.

       Separate and apart from the question of whether preservation efforts were reasonable, Rule

37(e)(1) additionally requires a specific “finding” of “prejudice . . . from loss of the information”

before any sanction may be issued. Fed. R. Civ. Pro. 37(e)(1). Likewise, any sanction ordered by


14
   Contrary to the Colorado Plaintiffs’ suggestion, see Colo. Pls. Mot. at 2, the Court’s ESI order
does not help Plaintiffs’ position. The Colorado Plaintiffs omit that the ESI Order actually
provides that “Each Party will continue its retention practices with regards to all Documents and
ESI in compliance with duties to preserve material under the Federal Rules of Evidence and the
Federal Rules of Civil Procedure, including Federal Rule of Civil Procedure 37(e).” ECF No. 99
at 4 (emphasis added). The Colorado Plaintiffs misleadingly quote a portion of the next sentence,
which says in full, “Upon mutual agreement of the Parties, a Party will modify its retention
practices to ensure the preservation of potentially responsive Documents and ESI.” Id. (emphasis
added). Here, Google did not modify its retention practices.



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a court must be “no greater than necessary to cure the prejudice.” Id. And, further, the ability to

order sanctions “does not require the court to adopt measures to cure every possible prejudicial

effect.” Fed. R. Civ. P. 37(e) advisory committee’s note to 2015 amendment. Plaintiffs cannot

demonstrate any prejudice here from the asserted loss of chats, let alone prejudice of such

significance that sanctions are required.

        While Rule 37 does not place the “burden of proving or disproving prejudice on one party

or the other,” Fed. R. Civ. P. 37(e) advisory committee’s note to 2015 amendment, Rule 37(e)(1)

does expressly require an affirmative “finding” of prejudice. Such prejudice to the moving party

cannot be “speculative.” See, e.g., Eisenband v. Pine Belt Auto., Inc., 2020 WL 1486045, at *9

(D.N.J. Mar. 27, 2020); Simon v. City of N.Y., 2017 WL 57860, at *7 (S.D.N.Y Jan. 5, 2017). It

is not enough for a plaintiff to posit, for example, that it is “possible that there could have been a

. . . message containing some type of ‘smoking gun’ to prove . . . intent or pretext.” Burns, 2017

WL 11633269, at *6 (denying sanctions motion regarding text messages).

        And, importantly, any “evaluation of prejudice from the loss of information necessarily

includes an evaluation of the information’s importance in the litigation.” Fed. R. Civ. P. 37(e)

advisory committee’s note to 2015 amendment; see also Bethel v. Rodriguez, 2022 WL 2157065,

at *5 (D.D.C. June 15, 2022) (denying sanctions motion, finding no prejudice based on lack of

“importan[ce]” (alteration in original) (citation omitted)); Dickerson v. D.C., 2022 WL 656172, at

*7 (D.D.C. Mar. 3, 2022) (same, and explaining in an employment discrimination case that “even

assuming . . . the District failed to properly preserve [plaintiff’s] performance evaluations . . . doing

so did not cause any prejudice to the plaintiff”).

        In undertaking this evaluation, courts carefully consider the context of both (1) the

documents and other discovery that were produced in the litigation and (2) the relation of the




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purportedly missing ESI to the material factual disputes between the parties. See, e.g., Dickerson,

2022 WL 656172, at *7; Does 1-15 v. City of Chicago, 2019 WL 2994532, at *8 (N.D. Ill. July 9,

2019) (denying motion, noting that lost recording “provides limited value compared to other

evidence in the record that goes directly to the” claim at issue); Steves & Sons Inc. v. Jeld-Wen,

Inc., 327 F.R.D. 96, 110 (E.D. Va. 2018) (denying sanctions motion, explaining that the record

“does not indicate that the ESI lost . . . would have significantly improved” the moving party’s

ability to prove its claim and was “nowhere near” a “unique and vital role” (internal quotation

marks omitted)); Marshall v. Dentfirst, P.C., 313 F.R.D. 691, 697–98 (N.D. Ga. 2016) (denying

motion, explaining that plaintiff failed to show “that the evidence was crucial” to being able to

prove her case). In other words, even where the missing evidence may be “relevant,” that does

not suffice to demonstrate a party is “prejudiced by its destruction” within the meaning of Rule

37. Best Payphones, Inc. v. City of N.Y., 2016 WL 792396, at *6 (E.D.N.Y. Feb. 26, 2016); Pugh-

Ozua v. Springhill Suites, 2020 WL 6562376, at *4 (S.D.N.Y. Nov. 9, 2020) (“[t]he mere fact that

deleted materials were relevant does not itself establish prejudice”).15

       Here, for all of Plaintiffs’ rhetoric, their motions fail to articulate how they have been

prejudiced. In particular, there is no reason to believe that history-off chats created after 2019 and

not otherwise preserved and produced are the “only evidence available to prove [their] claim,”

Pugh-Ozua, 2020 WL 6562376, at *4 (denying motion), or “crucial” to litigating the liability phase

of these cases, Marshall, 313 F.R.D. at 697–98 (same). Plaintiffs’ cited cases discussing what


15
   See also, e.g., Trading Places Int’l, LLC v. Summerwinds Resort Servs., LLC, 2017 WL
6383983, at *2 (W.D. Mo. May 12, 2017) (denying motion, holding that the court “is not persuaded
that any of the lost emails relate to the issues that remain relevant” and the moving party was able
to depose individuals to seek information); Walker v. Geico Indem. Co., 2018 WL 7917655, at *3
(M.D. Fla. Oct. 11, 2018) (denying motion, explaining that plaintiff did not establish missing
document “is crucial to her claims” and “there is evidence other than the missing document” that
may be used to prove her case).



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constitutes prejudice likewise do not provide support, as they involve markedly different

circumstances. See, e.g., DOJ Mot. at 21–23; Gerlich v. U.S. Dep’t of Just., 711 F.3d 161, 169

(D.C. Cir. 2013) (destruction of “all” records)16; Leon v. IDX Sys. Corp., 464 F.3d 951, 959–60

(9th Cir. 2006) (thousands of files “at the heart of IDX’s defense” with “obvious relevance”); Perez

v. U.S. Postal Serv., 2014 WL 10726125, at *4 (W.D. Wash. July 30, 2014) (evidence, deemed

“critical,” that “compromised Plaintiff’s ability to argue pretext” in employment action); Apple

Inc. v. Samsung Elecs. Co., 888 F. Supp. 2d at 982, 994 (email from company’s “default email

system” used by key witnesses—and even then “resulting prejudice is not particularly strong”);

see also Borum, 332 F.R.D. at 47 (deletion of all email by central witness).

       Indeed, Plaintiffs’ motions fail to acknowledge that any evaluation of prejudice must take

into account the extraordinary volume of discovery already made available to Plaintiffs here—

through both pre-complaint investigations and the litigation itself. See, e.g., FTC v. DirectTV, Inc.,

2016 WL 7386133, at *4–5 (N.D. Cal. Dec. 21, 2016) (denying FTC’s motion for sanctions,

explaining that while DirectTV “could have been more forthcoming . . . and/or more proactive,”

FTC failed to demonstrate that the information produced “is inadequate for its purposes”); see also

Does 1-5, 2019 WL 2994532, at *8 (same, noting the extent of evidence obtained); Best

Payphones, 2016 WL 792396, at *7 (same).

       As detailed earlier, the discovery record here includes more than 4 million Google

documents comprising 31 million pages, collected from more than 100 custodians, as well as

tremendous volumes of data. It includes more than fifty depositions of present and former Google

employees, spanning 89 days of testimony. It includes 5 million additional documents from



16
   Notably, like many of the cases cited by Plaintiffs, Gerlich pre-dates the 2015 adoption of
present Rule 37(e). It does not apply the Rule 37(e) standard. 711 F.3d at 170.



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approximately 125 third parties—including their communications with Google. And it includes

the depositions of 58 third parties across 70 days of testimony. Under these circumstances, there

is no evidence that Plaintiffs have been denied material information that is somehow completely

missing from this massive record and that could actually alter the course of these cases. See, e.g.,

Burns, 2017 WL 11633269, at *6 (denying motion, holding that, even if relevant text messages

were lost, “Plaintiff has had ample opportunity to depose the custodians and the decision-makers

in this case”); Marshall, 313 F.R.D. at 699 (holding that “any claimed prejudice Plaintiff suffered

by the alleged spoliation is mitigated by her opportunity to depose” defendant’s employees).

       The lack of cognizable prejudice here is reinforced by the context of what is actually at

issue in these cases. See, e.g., Dickerson, 2022 WL 656172, at *7. Here, DOJ Plaintiffs’

Complaint centers on the terms and operation of search distribution agreements with third-party

browsers, manufacturers of computers and mobile devices, and mobile carriers that have been in

existence for many years preceding this litigation. The voluminous production of contracts,

communications with agreement partners, negotiation documents, and internal discussions,

evaluations and analyses of these contracts found in emails, word processing documents and slides

(not to mention the extraordinarily voluminous financial and search revenue data associated with

these contracts) provides more than all the information necessary to adjudicate this case—on top

of voluminous productions of documents from every third party whose contract with Google is at

issue in this case, as well as every rival search engine that Plaintiffs claim competes with Google

for these contracts. The Colorado Plaintiffs’ Complaint focuses on these very same search

distribution agreements, as well as Google’s product designs involving specialized search units

and its SA360 search advertising tool. Again, Plaintiffs have obtained extensive discovery from

Google about these products and services that have existed for many years prior to the filing of the




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Complaints, as well as certain third-party Specialized Vertical Providers and Microsoft—the

primary complainants about these aspects of the case.

       It is therefore unsurprising that although Google collected over half a million chats for

review during the discovery process, and ran over 100 search strings with tens of thousands of

search term permutations to locate potentially responsive documents, only 637 chats were

produced as responsive to Plaintiffs’ broad discovery—basically one in every one thousand chats

collected. And from this universe of produced chats, not a single one was marked as an exhibit at

a deposition, cited by any expert witness in any report, or cited by any party in the briefing on the

motions for summary judgment. This confirms that Google Chat is not a mode of communication

likely to contain unique or critical relevant information for this litigation—a factor pertinent to

assessing the reasonableness of Google’s preservation efforts in the first place, as well as the lack

of prejudice to the extent individual custodians did not preserve every arguably responsive chat

even though they were instructed to do so.

       This case does not involve the type of demonstrable “prejudice” that Rule 37 is designed

to address. There is no basis to make a “finding” that Plaintiffs have been prejudiced, see Fed. R.

Civ. P. 37(e)(1), let alone that the prejudice is significant enough to warrant sanctions.

IV.    Google Did Not Act With an “Intent to Deprive.”

       In a bid to avoid Rule 37(e)(1)’s prejudice requirement, Plaintiffs also invoke Rule 37(e)(2)

and assert that Google acted with “intent to deprive” them of “the information’s use in the

litigation,” DOJ Mot. at 25. Given Google’s numerous disclosures to Plaintiffs, as well as its

efforts to preserve relevant documents (including any chat messages), this argument is patently

meritless.

       Rule 37(e)(2) imposes a uniquely “stringent” standard. Borum, 332 F.R.D. at 48–49

(emphasizing that this “intent standard is stringent and does not parallel other discovery standards”


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(citation and internal quotation marks omitted)). This is a “serious and specific sort of culpability”

demanding “intentional, bad-faith misconduct.” Auer v. City of Minot, 896 F.3d 854, 858 (8th Cir.

2018). “Negligent or even grossly negligent behavior” does not suffice to meet this standard, Fed.

R. Civ. P. 37(e) advisory committee’s note to 2015 amendment, nor does even “recklessness,”

Stovall v. Brykan Legends, LLC, 2019 WL 480559, at *4 (D. Kan. Feb. 7, 2019). Indeed, “[t]he

Rule itself makes clear that the party must do more than intend to destroy the evidence; it must do

so with an ‘intent to deprive another party of the information’s use in the litigation.” Brittney

Gobble Photography v. Sinclair Broad. Grp., Inc., 2020 WL 1809191, at *9 (D. Md. Apr. 9, 2020)

(explaining that plaintiff “would have to show that [the defendant] failed to institute a litigation

hold because it wanted its emails to be deleted so that [the plaintiff] could not use them in litigation

against it”).

        For that reason, courts do not find the requisite evidence of intent where documents are

“purged as a matter of course pursuant to the company’s routine document retention

policy.” Brittney Gobble Photography, 2020 WL 1809191, at *9; see also, e.g., Russell v. Univ.

of Tex., 234 Fed. App’x 195, 208 (5th Cir. 2007) (per curiam) (“Typically, we do not draw an

inference of bad faith when documents are destroyed under a routine policy.”); Flores v. AT&T

Corp., 2018 WL 6588586, at *9 (W.D. Tex. Nov. 8, 2018) (documents destroyed as part of the

“negligent continuation of [a] routine policy”). Indeed, courts routinely find that Rule 37(e)(2)’s

standard is not met even in cases involving a failure to “take basic steps necessary to find and

preserve files.” Auer, 896 F.3d at 858; see also, e.g., Pietrangelo v. Refresh Club, Inc., 2022 WL

17616353, at *7 (D.D.C. Dec. 13, 2022); Borum, 332 F.R.D. at 48–49. This includes even failing

to issue a litigation hold at all. See, e.g., Barbera v. Pearson Educ., Inc., 906 F.3d 621, 627–28

(7th Cir. 2018) (affirming finding of no intent under Rule 37(e)(2), where no litigation hold was




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issued); Brittney Gobble Photography, 2020 WL 1809191, at *9 (no Rule 37(e)(2) violation, even

though defendant failed to institute any litigation hold); Mkrtchyan v. Sacramento County., 2021

WL 5284322, at *11 (E.D. Cal. Nov. 12, 2021) (same).

       Plaintiffs cannot come close to demonstrating the specific intent that is required with

respect to Google here. As described above, Google embarked on a mammoth scope of

preservation, collection, and production in this case that directly rebuts any suggestion that the

company intentionally sought to destroy evidence. It provided specific, written instructions to

employees, including expressly to preserve chats discussing topics relevant to the litigation—and

reminded them every six months that they were on litigation hold. It collected tens of millions of

documents, including over half a million chat messages. And it ultimately produced millions of

documents. There simply was no “intent to deprive” Plaintiffs of the information necessary for

this litigation. Fed. R. Civ. P. 37(e)(2) advisory committee’s note to 2015 amendment.

       Plaintiffs’ assertions that they were deliberately misled by Google’s disclosures as to its

preservation steps are likewise incorrect. DOJ Mot. at 28–29. Google’s disclosures in connection

with the DOJ’s investigation specified that “on-the-record” chats are retained—Google never

represented that all chats are retained, and Google’s subsequent communications with Plaintiffs

identified both the existence of “off-the-record” chats and the fact that they are not

retained. Plaintiffs point in isolation to a portion of Google’s response to one question in the ESI

questionnaire. As part of Google’s response, it noted that “[t]he legal hold suspends auto-

deletion,” DOJ Mot. at 2, but that statement came in the context of a document that earlier asked

Google to describe its retention of instant messages, where Google explained that chats are retained

“if they have been marked on-the-record, and potentially longer if on-the-record messages are on

legal hold.” DOJ Ex. 3 at -68 (emphases added). The policies that Google attached to the




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questionnaire reiterated the same. See id. at -77 (“[O]n the record Chats, and Hangouts with

‘History’ checked on, that are subject to a Legal Hold, will be preserved for the duration of the

Legal Hold.”) (emphasis added). Specifically, Google implements the legal hold suspension of

auto deletion through the Google Vault tool, and it did so for history-on chats and other forms of

ESI retained through Google Vault (e.g., email, slides, word processing documents). This function

was not applicable, however, for history-off chats which were not available for preservation in

Google Vault. Plaintiffs also ignore that Google expressly pointed out in its response that “[t]he

hold notice . . . instructs custodians to preserve relevant documents,” which is precisely what it

did, including specifically as to chats generated on a going-forward basis after the issuance of the

legal hold notice. Id. at -74. And, of course, Google’s subsequent disclosures made plain that off-

the-record chats were not retained, and that Google relied on legal hold custodians to turn history

on for the chat to be retained.

       Further, Plaintiffs’ citation to discovery correspondence in this litigation misconstrues the

subject and context of those exchanges. DOJ Mot. at 28–29. At no point during these exchanges

did DOJ or the States ask questions about retention of “on the record” or “off the record” chats. Ex.

10 at ¶ 15 (Rubinstein Declaration). The discussions on these calls focused on the mechanics of

collection and production of chats. Id. By this time, Google had disclosed its preservation

practices to DOJ, including during the ongoing ad tech investigation that occurred

contemporaneously with the commencement of fact discovery in this litigation. And DOJ had not

raised any objection to or concern about that practice other than to request confirmation about

Google’s instructions to custodians. Under these circumstances, there was no further information

on preservation practices to provide.




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       Moreover, the cases Plaintiffs rely upon are wholly inapposite. If anything, they

underscore that Rule 37(e)(2) is inapplicable here. Plaintiffs rely extensively, for example, on

Sines v. Kessler, 2021 WL 4943742 (W.D. Va. Oct. 22, 2021). DOJ Mot. at 26–27. In that case,

the litigant—a neo-Nazi planner of the 2017 white supremacist rally in Charlottesville, Virginia,

being sued for conspiracy to commit racial violence—“took no steps at all” to protect any devices

or social media accounts he used to communicate with other attendees at the rally, was unable to

“recall almost any fact about the steps he took” to preserve, and also “ignore[d] outright the court’s

orders,” “stonewall[ed]” discovery “from the very beginning,” and “demonstrate[d] a contempt”

for his discovery obligations evidencing a pattern of “misconduct over several years.” 2021 WL

4943742, at *5, *6, *10–11 (emphasis and citations omitted). Plaintiffs also cite Paisley Park

Enters., Inc. v. Boxill, 330 F.R.D. 226, 236–37 (D. Minn. 2019), where the litigants affirmatively

“wiped and discarded their phones” (twice, in one case) after the suit was filed, even though the

phones were used for their recording business, and lost text messages would pertain to the allegedly

stolen song recordings. DOJ Mot. at 27. Indeed, the court there specifically distinguished a

situation where the missing ESI was just the result of a “failure to disengage the auto-delete

function.” Paisley Park Enters., 330 F.R.D. at 236–37. Plaintiffs further rely on decisions where

case-dispositive evidence was destroyed by a party. See, e.g., DOJ Mot. at 25–28; Doe v. Wesleyan

Univ., 2022 WL 2656787, at *4, *12 (D. Conn. July 8, 2022) (plaintiff strategically destroyed

evidence because it was “the most direct proof of Plaintiff’s cheating”); Moody v. CSX Transp.,

Inc., 271 F. Supp. 3d 410, 430–31 (W.D.N.Y. 2017) (litigant failed to preserve “the most important

objective evidence” in the case, which was “critical and irreplaceable,” despite “knowing they had

a duty to preserve” it); O’Berry v. Turner, 2016 WL1700403, at *4 (M.D. Ga. Apr. 27, 2016)




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(rather than issuing a written litigation hold, defendant printed a single paper copy of the driver

logs in a vehicle collision litigation, then lost the only copy).17

        In sum, there is no basis for Plaintiffs’ invocation of Rule 37(e)(2). That should be rejected

out of hand.

V.      No Additional Discovery Is Required or Appropriate.

        Finally, Plaintiffs’ request for “discovery on discovery”—from a Rule 30(b)(6) deposition,

to requiring declarations from scores of individual custodians, to the production of privileged hold

notices, to an evidentiary hearing before the Court, DOJ Mot. at 29–31—is unnecessary and

inappropriate here for multiple reasons.

        First, there is no need for an additional factual record to address Plaintiffs’ motions. The

Court has before it extensive briefing by both Plaintiffs and Google that sets forth the pertinent

facts regarding Google’s process for preserving chats and the facts surrounding the information

provided to Plaintiffs about those practices. The Court also has ample evidence regarding the

massive discovery produced by Google and third parties in these cases. There are no additional

material facts necessary to resolve whether Google’s chat preservation practices are sanctionable,

considering the timeliness of Plaintiffs’ motions, the prior disclosures made to Plaintiffs about




17
   Plaintiffs also cite to cases where courts held that litigants did not have the requisite intent for a
Rule 37(e)(2) sanction. Ungar v. City of N.Y., 329 F.R.D. 8, 12, 14 (E.D.N.Y. 2018) (no intent,
despite finding of “gross negligence”); see also Borum, 332 F.R.D. at 49 (same). And Plaintiffs
cite a case where the court ruled under its inherent authority, rather than using the more stringent
Rule 37(e)(2) standard applicable here. United States ex rel. Scutellaro v. Capitol Supply, Inc.,
2017 WL 1422364, at *10 (D.D.C. Apr. 19, 2017) (“Rule 37(e) does not govern the instant
spoliation motions”); see also Fed. R. Civ. P. 37(e)(2) advisory committee’s note to 2015
amendment (new Rule 37(e) “forecloses reliance on inherent authority”).



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these practices, the reasonableness of Google’s preservation efforts, and the lack of prejudice to

Plaintiffs’ ability to prosecute these cases.18

        Second, Plaintiffs’ proposed “discovery on discovery” demonstrates a disregard for the

significant burden on Google that is disproportionate to any asserted rationale for seeking the

information. For instance, Plaintiffs propose ordering Google to obtain “signed declarations from

each of Google’s document custodians in this case,” DOJ Mot. at 30, but ignore that this includes

more than 100 custodians (including numerous individuals who no longer work at

Google). Likewise, the topics Plaintiffs propose for another Rule 30(b)(6) deposition, including

the company’s “document preservation policies” and “any litigation hold or holds that Google

issued with respect to the Investigation or this Litigation,” DOJ Ex. 52 at 4, are

unnecessary. Google already has provided the necessary evidence of its preservation policies,

including the fact that custodians were instructed to preserve chats if they were relevant to the

subject matters at issue in these cases.

        Third, Plaintiffs seek documents that are privileged on their face—namely the legal hold

notice and associated reminders issued by Google’s in-house counsel to the company’s

employees. Plaintiffs do not argue otherwise. See DOJ Mot. at 30.19 And this is not, as Plaintiffs

suggest, a “sword and shield” situation. Id. Google is not opting as a matter of strategy to rely on



18
  In fact, the Plaintiffs’ own cited case, In re Dynex Cap., Inc. Sec. Litig., 2011 WL 2581755, at
*3, *5 (S.D.N.Y. Apr. 29, 2011), expressly recognizes that “no such hearing is required” and
declined to hold a hearing in the circumstances presented there.
19
   As numerous courts have held, such communications are protected by the attorney-client
privilege and work product doctrine. See, e.g., Neighborhood Assistance Corp. of Am., v. United
States Dep't of Hous. & Urb. Dev., 19 F. Supp. 3d 1, 22 (D.D.C. 2013) (“To be sure, litigation
hold letters are generally privileged.”); Muro v. Target Corp., 250 F.R.D. 350, 360 (N.D. Ill. 2007),
aff'd, 580 F.3d 485 (7th Cir. 2009); Gibson v. Ford Motor Co., 510 F. Supp. 2d 1116, 1124 (N.D.
Ga. 2007).



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communications to advance a reliance-on-counsel defense to the Plaintiffs’ antitrust

theories. Rather, Google discussed these communications, to a limited extent, to respond to

Plaintiffs’ inquiries about its preservation practices. Indeed, when the same issue was raised in

the Google Play litigation, the court assured Google that it would not face a waiver by describing

in general its practices (and not requiring production of the actual hold notices). See DOJ Ex. 1 at

42–44 (stating that the court was giving Google “the biggest blanket I can give you” to discuss the

relevant provisions of the hold notice).20

       Finally, Plaintiffs’ bid for additional discovery is itself clearly untimely. Fact discovery

in this matter closed in May 2022, and with it the Court’s June 2022 deadline for parties to file any

motions to compel regarding discovery. See Order Regarding Production Deadline, Mot. to

Compel Deadline, and Evidentiary Cut-Off Date, ECF No. 357 (May 25, 2022). Plaintiffs’ request

for additional discovery not obtained during the discovery period, which essentially constitutes a

dressed-up motion to compel, is thus eight months late. As explained above, Plaintiffs’ entire

motion should be denied as untimely. And Plaintiffs’ attempt to reopen discovery—when it was

firmly shut more than nine months ago—should be denied as well. See, e.g., Williams v. Johnson,

747 F. Supp. 2d 10, 17–18 (D.D.C. 2010) (holding that after “the Court expressly informed the




20
   At the very least, Plaintiffs’ request for production of the entire legal hold and all reminder
notices is inappropriate and overly broad because the instruction on chats is the only provision at
issue here. The commentary to Federal Rule of Evidence 502 is clear that “a voluntary disclosure
in a federal proceeding . . . generally results in a waiver only of the communication or information
disclosed.” Fed. R. Evid. 502 advisory committee’s note to 2007 amendment (emphasis added);
see also id. (“subject matter waiver . . . is reserved for those unusual situations in which fairness
requires a further disclosure of related, protected information, in order to prevent a selective and
misleading presentation of evidence to the disadvantage of the adversary”); Trs. of Elec. Workers
Loc. No. 26 Pension Tr. Fund v. Tr. Fund Advisors, Inc., 266 F.R.D. 1, 15–16 (D.D.C. 2010)
(under Federal Rule of Evidence 502, waiver may only extend to undisclosed information when
“the disclosed and undisclosed information concern the same subject matter” and “ought in
fairness be considered together”).


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parties that discovery would close” on a date certain, “Plaintiff cannot be heard to complain of

alleged discovery failures at this late date”).

                                           CONCLUSION

        For the foregoing reasons, Plaintiffs’ motions should be denied.




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Dated: March 10, 2023               Respectfully submitted,

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